Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 1 of 41




                 EXHIBIT 4
        Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 2 of 41
         Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 1 of 40




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    IN RE:                                                             CHAPTER 11

    LIMETREE BAY SERVICES, LLC, et al.,1                               CASE NO.: 21-32351

       Debtors.                                                        (Jointly Administered)



                   DISCLAIMER REGARDING DEBTORS’ SCHEDULES AND SOFA

                                                  General Disclaimer


         1.        The Schedules and the SOFA are unaudited and subject to potential

adjustment. In preparing the Schedules and the SOFA, the CRO and his professionals relied

on financial data derived from the Debtors’ books and records that was available at the time of

preparation. The CRO and his professionals have made reasonable efforts to ensure that the

Schedules and the SOFA are as accurate and complete as possible under the circumstances;

however, subsequent information or discovery may result in changes to the Schedules and

SOFA and errors or omissions may exist.

         2.        The CRO reserves all rights to amend or supplement the Schedules and SOFA

from time to time, in all respects, as may be necessary or appropriate, including the right to

dispute or otherwise assert offsets or defenses to any claim reflected on the Schedules and

SOFA as to any amount, liability, classification, identity of debtor or to otherwise subsequently

designate any claim as “disputed”, “contingent”, or “unliquidated”. Furthermore, nothing



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, as
applicable, are: Limetree Bay Services, LLC (1866); Limetree Bay Refining Holdings, LLC.(1776); Limetree Bay Refining
Holdings II, LLC (1815); Limetree Bay Refining, LLC (8671); Limetree Bay Refining Operating, LLC (9067); Limetree Bay
Refining Marketing, LLC (9222). The Debtors’ mailing address is Limetree Bay Services, LLC, 11100 Brittmoore Park Drive,
Houston, TX 77041.



4840-8042-7514.1
        Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 3 of 41
         Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 2 of 40




contained in the Schedules and SOFA shall constitute a waiver of any of the CRO’s rights or

an admission with respect to these chapter 11 cases, including any issues involving objections

to claims, substantive consolidation, defenses, affirmative claims against third parties or rights

against third parties, other issues that typically arise under the Bankruptcy Code.

                                 Notes on Schedules of Assets and Liabilities

                                         Method of Valuation

         3.        Unless otherwise noted, the carrying value on the Debtors’ books and records

(net book value) as of the Petition Date, rather than the current market values, of the Debtors’

interest in the property and of the Debtors’ liabilities, is reflected on the Debtors’ Schedules and

SOFA. The net book value may not correspond to market value, or liquidation value, of which

may be either higher or lower.

         Dated: September 7, 2021                       BAKER & HOSTETLER LLP

                                                        /s/ Elizabeth A. Green
                                                        Elizabeth A. Green, Esq.
                                                        So. Dist. Fed ID 903144
                                                        Jimmy D. Parrish, Esq.
                                                        So. Dist. Fed ID 2687598
                                                        200 S. Orange Avenue
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                                                        Orlando, FL 32801
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4840-8042-7514.1
        Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 4 of 41
         Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 3 of 40




                                            BAKER & HOSTETLER LLP
                                            Jorian L. Rose, Esq.
                                            N.Y. Reg. No. 2901783
                                            45 Rockefeller Plaza
                                            New York, New York
                                            Telephone: 212.589.4200
                                            Facsimile: 212.589.4201
                                            Email: jrose@bakerlaw.com
                                            (Admitted Pro Hac Vice)

                                            Proposed Counsel for the Debtors and
                                            Debtors in Possession




4840-8042-7514.1
                          Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 5 of 41
                            Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 4 of 40

 Fill in this information to identify the case:

 Debtor name            Limetree Bay Refining Marketing, LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF TEXAS

 Case number (if known)               21-32356
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                     12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                      0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       118,229,162.72

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       118,229,162.72


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $    1,056,353,788.97


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                      0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       198,765,709.12


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $        1,255,119,498.09




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                   page 1
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                      Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 6 of 41
                        Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 5 of 40

 Fill in this information to identify the case:

 Debtor name         Limetree Bay Refining Marketing, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)         21-32356
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No.   Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                         Last 4 digits of account
                                                                                                         number


            3.1.   Deutsche Bank                                            Revenue Account              9721                                $1,049,979.71




            3.2.   Deutsche Bank                                            O&M Operating Account        9722                                             $1.49



                                                                            Reinvestment & Repair
            3.3.   Deutsche Bank                                            Account                      9723                                             $0.00



                                                                            Tolling Agreement
            3.4.   Deutsche Bank                                            Payment Account              9724                                             $0.00



                                                                            Capex Resereve
            3.5.   Deutsche Bank                                            Account                      9725                                             $0.00



                                                                            Turn-Around Reserve
            3.6.   Deutsche Bank                                            Account                      9726                                             $0.00



                                                                            Tolling Agreement
            3.7.   Deutsche Bank                                            Payment Sub-Account          9727                                             $0.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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                       Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 7 of 41
                          Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 6 of 40

 Debtor            Limetree Bay Refining Marketing, LLC                                        Case number (If known) 21-32356
                   Name



                                                                            Gross Margin
            3.8.     Deutsche Bank                                          Sub-Account                      9728                               $0.00




            3.9.     Oriental Bank                                          Checking Account                 0986                     $119,310.57



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                      $1,169,291.77
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit

 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     Pre-Paid Insurance                                                                                                $647,499.99




            8.2.     Pre-Paid Sundry                                                                                                  $162,083.17




            8.3.     Advances on Intermediation Agreement with J. Aron                                                             $48,582,646.70




 9.         Total of Part 2.                                                                                                     $49,392,229.86
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No.   Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                       10,548,277.11    -                                0.00 = ....          $10,548,277.11
                                              face amount                        doubtful or uncollectible accounts




            11b. Over 90 days old:                          20,872,917.89    -                               0.00 =....            $20,872,917.89
                                              face amount                        doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 2
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                      Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 8 of 41
                        Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 7 of 40

 Debtor         Limetree Bay Refining Marketing, LLC                                             Case number (If known) 21-32356
                Name


 12.       Total of Part 3.                                                                                                          $31,421,195.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.
           General description                        Date of the last           Net book value of      Valuation method used      Current value of
                                                      physical inventory         debtor's interest      for current value          debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Inventory (see attached
           list)                                                                        $1,707,323.09                                     $1,707,323.09




 23.       Total of Part 5.                                                                                                           $1,707,323.09
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                         Valuation method                       Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
                      Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 9 of 41
                        Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 8 of 40

 Debtor         Limetree Bay Refining Marketing, LLC                                         Case number (If known) 21-32356
                Name

46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.
                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

            Catalyst - Precious Metal used in the refining process                                                                  $20,000,000.00



            BP Oil - CMS Invoices                                                                                                   $14,539,123.00


            Storage Tank Lease Under Terminal Services
            Agreement                                                                                                                      Unknown




 78.        Total of Part 11.                                                                                                     $34,539,123.00
            Add lines 71 through 77. Copy the total to line 90.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 4
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 10 of 41
                        Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 9 of 40

 Debtor         Limetree Bay Refining Marketing, LLC                                         Case number (If known) 21-32356
                Name



 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 5
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                       Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 11 of 41
                         Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 10 of 40

 Debtor          Limetree Bay Refining Marketing, LLC                                                                Case number (If known) 21-32356
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                        $1,169,291.77

 81. Deposits and prepayments. Copy line 9, Part 2.                                                           $49,392,229.86

 82. Accounts receivable. Copy line 12, Part 3.                                                               $31,421,195.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                           $1,707,323.09

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +            $34,539,123.00

 91. Total. Add lines 80 through 90 for each column                                                     $118,229,162.72              + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                             $118,229,162.72




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 6
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Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 12 of 41
Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 11 of 40

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                       Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 13 of 41
                          Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 12 of 40

 Fill in this information to identify the case:

 Debtor name          Limetree Bay Refining Marketing, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)              21-32356
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Goldman Sachs Bank USA                        Describe debtor's property that is subject to a lien            $50,320,833.33                   Unknown
        Creditor's Name                               Certain accounts, chattel paper, deposit
                                                      accounts, documents, equipment, fixtures,
                                                      general intangibles, instruments, intellectual
                                                      property, investment property, letters of
        as Administrative Agent                       credit, commercial tort claims...of any Senior
        200 West Street                               Lenders Collateral
        New York, NY 10282
        Creditor's mailing address                    Describe the lien
                                                      Revolver Debt
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2    J. Aron & Company LLC                         Describe debtor's property that is subject to a lien           $221,952,054.00                   Unknown
        Creditor's Name                               Accounts, accounts receivable,
                                                      hydrocarbons and other inventory, deposit
                                                      accounts, instruments, chattel paper,
                                                      documents, tax refunds, commercial tort
                                                      claims, and replacement proceeds of the J.
        200 West Street                               Aron Collateral
        New York, NY 10282
        Creditor's mailing address                    Describe the lien
                                                      Estimate Safe Harbor Agreement
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No

Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
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                      Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 14 of 41
                         Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 13 of 40

 Debtor       Limetree Bay Refining Marketing, LLC                                                    Case number (if known)   21-32356
              Name

                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                       Disputed


 2.3   J. Aron & Company LLC                          Describe debtor's property that is subject to a lien               $25,087,659.68   Unknown
       Creditor's Name                                Accounts, accounts receivable,
                                                      hydrocarbons and other inventory, deposit
                                                      accounts, instruments, chattel paper,
                                                      documents, tax refunds, commercial tort
                                                      claims, and replacement proceeds of the J.
       200 West Street                                Aron Collateral
       New York, NY 10282
       Creditor's mailing address                     Describe the lien
                                                      Term Debt
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



 2.4   Wilmington Trust, N.A.                         Describe debtor's property that is subject to a lien              $758,993,241.96   Unknown
       Creditor's Name                                Certain accounts, chattel paper, deposit
                                                      accounts, documents, equipment, fixtures,
                                                      general intangibles, instruments, intellectual
                                                      property, investment property, letters of
                                                      credit, commercial tort claims...of any Senior
       1100 N. Market Street                          Lenders Collateral
       Wilmington, DE 19890
       Creditor's mailing address                     Describe the lien
                                                      Term Debt Guarantee
                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative
       priority.                                       Disputed


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 2 of 3
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 15 of 41
                       Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 14 of 40

 Debtor       Limetree Bay Refining Marketing, LLC                                              Case number (if known)         21-32356
              Name


                                                                                                                         $1,056,353,7
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                88.97

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 3 of 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 16 of 41
                       Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 15 of 40

 Fill in this information to identify the case:

 Debtor name         Limetree Bay Refining Marketing, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)          21-32356
                                                                                                                                                      Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $468,518.38
           AFCO Credt Insurance                                               Contingent
           4501 College Blvd                                                  Unliquidated
           Suite 320                                                          Disputed
           Leawood, KS 66211
                                                                             Basis for the claim:    accrued insurance
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $162,083.17
           Argus Media, Inc                                                   Contingent
           2929 Allen Parkway                                                 Unliquidated
           Suite 700                                                          Disputed
           Houston, TX 77019
                                                                             Basis for the claim:    Trade Debt
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $12,561,991.38
           BP Oil Supply                                                      Contingent
           501 Westlake Park Blvd
           Houston, TX 77079
                                                                              Unliquidated
           Date(s) debt was incurred
                                                                              Disputed
           Last 4 digits of account number                                   Basis for the claim:    Trade Debt
                                                                             Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $49,280,992.12
           BP Products North America Inc
           Attn: Head of Marketing/Origination                                Contingent
           30 S. Wacker Drive                                                 Unliquidated
           Suite 900                                                          Disputed
           Chicago, IL 60606
                                                                             Basis for the claim:    voucher accruals
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes



Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                         page 1 of 3
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 17 of 41
                        Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 16 of 40

 Debtor       Limetree Bay Refining Marketing, LLC                                                    Case number (if known)            21-32356
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $7,825,625.00
          BP Products North America Inc
          Attn: Head of Marketing/Origination                                 Contingent
          30 S. Wacker Drive                                                  Unliquidated
          Suite 900                                                           Disputed
          Chicago, IL 60606
                                                                             Basis for the claim:    other AP
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $1,838,548.54
          BP Products North America Inc
          Attn: Head of Marketing/Origination                                 Contingent
          30 S. Wacker Drive                                                  Unliquidated
          Suite 900                                                           Disputed
          Chicago, IL 60606
                                                                             Basis for the claim:    BP Oil AP
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $2,016,315.42
          Limetree Bay Refining, LLC                                          Contingent
          #1 Estate Hope                                                      Unliquidated
          Christiansted, VI 00820-5652                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Intercompany Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $105,962,726.20
          Limetree Bay Refining, LLC                                          Contingent
          1 Estate Hope                                                       Unliquidated
          Christiansted, VI 00820                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Intercompany Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $17,155,091.01
          Limetree Bay Terminals, LLC                                         Contingent
          #1 Estate Hope                                                      Unliquidated
          Christiansted, VI 00820-5652
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Intercompany Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $100,950.00
          Limetree Bay Terminals, LLC                                         Contingent
          #1 Estate Hope                                                      Unliquidated
          Christiansted, VI 00820-5652
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Intercompany Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $15,555.22
          Marjorie Rawls Roberts, P.C.                                        Contingent
          PO Box 6347                                                         Unliquidated
          St. Thomas, VI 00804-6347                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 3
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 18 of 41
                        Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 17 of 40

 Debtor       Limetree Bay Refining Marketing, LLC                                                    Case number (if known)            21-32356
              Name

 3.12      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $331,885.03
           Quinn Emanuel Urquhart                                             Contingent
           865 S. Figueroa St.                                                Unliquidated
           10th Floor                                                         Disputed
           Los Angeles, CA 90017
                                                                             Basis for the claim:    Legal Fees
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.13      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.          $1,045,427.65
           Stroock & Stroock & Lavan LLP                                      Contingent
           180 Maiden Lane                                                    Unliquidated
           New York, NY 10038-4982                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Legal Fees
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                      related creditor (if any) listed?             account number, if
                                                                                                                                                    any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                           0.00
 5b. Total claims from Part 2                                                                            5b.    +   $                 198,765,709.12

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                    198,765,709.12




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 3 of 3
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 19 of 41
                       Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 18 of 40

 Fill in this information to identify the case:

 Debtor name         Limetree Bay Refining Marketing, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)         21-32356
                                                                                                                                    Check if this is an
                                                                                                                                     amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules.   There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.         State what the contract or                  Standard Fire
              lease is for and the nature of              Insurance Policy No.
              the debtor's interest                       026
                                                          001001324-01-000000         AIG Insurance Company - Puerto Rico
                  State the term remaining                expires 9/1/21              Marsh & Sterling
                                                                                      1336 Beljen Road
              List the contract number of any                                         Suite 300, Charlotte Amalie
                    government contract                                               St Thomas, VI 00802


 2.2.         State what the contract or                  Excess Liability
              lease is for and the nature of              Insurance Policy No.
              the debtor's interest                       NAMBM2100005
                                                                                      Arcadia/Ark/Helix
                  State the term remaining                expires 6/1/22              Lockton Companies, LLC - Houston
                                                                                      3657 Briarpark Drive
              List the contract number of any                                         Suite 700
                    government contract                                               Houston, TX 77042


 2.3.         State what the contract or                  Combined Property
              lease is for and the nature of              Insurance Policy
              the debtor's interest                       B0509ENGAO2000588

                  State the term remaining                expires 12/1/21             Atrium Underwriters Ltd
                                                                                      Marsh USA
              List the contract number of any                                         1166 Avenue of the Americs
                    government contract                                               New York, NY 10036-2774


 2.4.         State what the contract or                  Combined Property
              lease is for and the nature of              Insurance Policy
              the debtor's interest                       42-PRP-312023-01
                                                                                      Berkshire Hathaway
                  State the term remaining                                            National Fire & Marine Ins Co
                                                                                      1314 Douglas Street
              List the contract number of any                                         Suite 1400
                    government contract                                               Omaha, NE 68102-1944




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                               Page 1 of 9
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 20 of 41
                       Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 19 of 40
 Debtor 1 Limetree Bay Refining Marketing, LLC                                                 Case number (if known)   21-32356
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.5.        State what the contract or                   Feedstock Supply
             lease is for and the nature of               Agreement;,
             the debtor's interest                        Amendment No. 1 to
                                                          Feedstock Supply
                                                          Agreement                    BP Products North America Inc.
                  State the term remaining                expires 11/15/25             Rhonda R. Trotter
                                                                                       Arnold & Porter Kaye Scholer LLP
             List the contract number of any                                           777 S. Figueroa St., 44th Floor
                   government contract                                                 Los Angeles, CA 90017


 2.6.        State what the contract or                   Product Offtake
             lease is for and the nature of               Agreement,
             the debtor's interest                        Amendment No. 1,
                                                          Amendment #2                 BP Products North America Inc.
                  State the term remaining                expires 11/15/25             Rhonda R. Trotter
                                                                                       Arnold & Porter Kaye Scholer LLP
             List the contract number of any                                           777 S. Figueroa St., 44th Floor
                   government contract                                                 Los Angeles, CA 90017


 2.7.        State what the contract or                   Amended and Restated
             lease is for and the nature of               Tolling Agreement
             the debtor's interest
                                                                                       BP Products North America Inc.
                  State the term remaining                                             Rhonda R. Trotter
                                                                                       Arnold & Porter Kaye Scholer LLP
             List the contract number of any                                           777 S. Figueroa St., 44th Floor
                   government contract                                                 Los Angeles, CA 90017


 2.8.        State what the contract or                   Intermediation
             lease is for and the nature of               Facilitation Agreement
             the debtor's interest
                                                                                       BP Products North America Inc.
                  State the term remaining                                             Rhonda R. Trotter
                                                                                       Arnold & Porter Kaye Scholer LLP
             List the contract number of any                                           777 S. Figueroa St., 44th Floor
                   government contract                                                 Los Angeles, CA 90017


 2.9.        State what the contract or                   Limited Assignment
             lease is for and the nature of               Agreement
             the debtor's interest
                                                                                       BP Products North America Inc.
                  State the term remaining                                             Rhonda R. Trotter
                                                                                       Arnold & Porter Kaye Scholer LLP
             List the contract number of any                                           777 S. Figueroa St., 44th Floor
                   government contract                                                 Los Angeles, CA 90017


 2.10.       State what the contract or                   BP-LBRM Side
             lease is for and the nature of               Agreement                    BP Products North America Inc.
             the debtor's interest                                                     Rhonda R. Trotter
                                                                                       Arnold & Porter Kaye Scholer LLP
                  State the term remaining                                             777 S. Figueroa St., 44th Floor
                                                                                       Los Angeles, CA 90017
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 2 of 9
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 21 of 41
                       Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 20 of 40
 Debtor 1 Limetree Bay Refining Marketing, LLC                                               Case number (if known)   21-32356
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

             List the contract number of any
                   government contract


 2.11.       State what the contract or                   Omnibus Amendment
             lease is for and the nature of               to BP Agreements
             the debtor's interest
                                                                                     BP Products North America Inc.
                  State the term remaining                                           Rhonda R. Trotter
                                                                                     Arnold & Porter Kaye Scholer LLP
             List the contract number of any                                         777 S. Figueroa St., 44th Floor
                   government contract                                               Los Angeles, CA 90017


 2.12.       State what the contract or                   Policy #
             lease is for and the nature of               B0713ENCAS2000011
             the debtor's interest
                                                                                     Chaucer/Apollo
                  State the term remaining                                           Lockton Companies, LLC - Houston
                                                                                     3657 Briarpark Drive
             List the contract number of any                                         Suite 700
                   government contract                                               Houston, TX 77042


 2.13.       State what the contract or                   Combined Property
             lease is for and the nature of               Insurance Policy
             the debtor's interest                        B0509ENGAO2000069

                  State the term remaining                expires 12/1/21            Convex Insurance UK Limited
                                                                                     Marsh USA
             List the contract number of any                                         1166 Avenue of the Americas
                   government contract                                               New York, NY 10036-2774


 2.14.       State what the contract or                   Combined Property
             lease is for and the nature of               Insurance Policy
             the debtor's interest                        B0509ENGAO2000563

                  State the term remaining                expires 12/1/21            Elseco Limited
                                                                                     Marsh USA
             List the contract number of any                                         1166 Avenue of the Americas
                   government contract                                               New York, NY 10036-2774


 2.15.       State what the contract or                   Combined Property
             lease is for and the nature of               Insurance Policy
             the debtor's interest                        B0509ENGAO2000613

                  State the term remaining                expires 12/1/21            Fidelis Underwriting Ltd.
                                                                                     Marsh USA
             List the contract number of any                                         1166 Avenue of the Americas
                   government contract                                               New York, NY 10036-2774




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 3 of 9
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 22 of 41
                       Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 21 of 40
 Debtor 1 Limetree Bay Refining Marketing, LLC                                               Case number (if known)   21-32356
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.16.       State what the contract or                   Combined Property
             lease is for and the nature of               Insurance Policy
             the debtor's interest                        ENGAO2000069

                  State the term remaining                expires 12/1/21            Great Lakes
                                                                                     Marsh USA
             List the contract number of any                                         1166 Avenue of the Americas
                   government contract                                               New York, NY 10036-2774


 2.17.       State what the contract or                   Combined Property
             lease is for and the nature of               Insurance Policy
             the debtor's interest                        B0509ENGAO2000576
                                                                                     Guardian General Insurance Limited
                  State the term remaining                expires 12/1/21            Newton Centre
                                                                                     30-36 Maraval Road
             List the contract number of any                                         Newton Port of Spain 190133
                   government contract                                               TRINDAD AND TOBAGO


 2.18.       State what the contract or                   Combined Property
             lease is for and the nature of               Insurance Policy
             the debtor's interest                        ENGAO2000069

                  State the term remaining                expires 12/1/21            Hannover Re/HDI Global Specialty SE
                                                                                     Marsh USA
             List the contract number of any                                         1166 Avenue of the Americas
                   government contract                                               New York, NY 10036-2774


 2.19.       State what the contract or                   Combined Property
             lease is for and the nature of               Insurance Policy
             the debtor's interest                        ENGAO2000069
                                                                                     Helvetia Swiss Insurance Co
                  State the term remaining                expires 12/1/21            in Liechenstein Ltd
                                                                                     Marsh USA
             List the contract number of any                                         1166 Avenue of the Americas
                   government contract                                               New York, NY 10036-2774


 2.20.       State what the contract or                   Combined Property
             lease is for and the nature of               Insurance Policy
             the debtor's interest                        ENGAO2000069

                  State the term remaining                expires 9/1/21             Houston Specialty Insurance Company
                                                                                     Marsh USA
             List the contract number of any                                         1166 Avenue of the Americas
                   government contract                                               New York, NY 10036-2774


 2.21.       State what the contract or                   Combined Property
             lease is for and the nature of               Insurance Policy
             the debtor's interest                        B0509ENGAO2000563
                                                                                     Insurance General Insurance Co Ltd.
                  State the term remaining                expires 12/1/21            Marsh USA
                                                                                     1166 Avenue of the Americas
             List the contract number of any                                         New York, NY 10036-2774
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 4 of 9
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 23 of 41
                       Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 22 of 40
 Debtor 1 Limetree Bay Refining Marketing, LLC                                                 Case number (if known)   21-32356
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.22.       State what the contract or                   Monetization Master
             lease is for and the nature of               Agreement
             the debtor's interest
                                                                                       J. Aron & Company LLC
                  State the term remaining                expires 12/31/2021           c/o Robin Spigel
                                                                                       Baker Botts, LLC
             List the contract number of any                                           30 Rockefeller Plaza
                   government contract                                                 New York, NY 10112-4498


 2.23.       State what the contract or                   Inventory Sales
             lease is for and the nature of               Agreement
             the debtor's interest
                                                                                       J. Aron & Company LLC
                  State the term remaining                                             c/o Robin Spigel
                                                                                       Baker Botts, LLC
             List the contract number of any                                           30 Rockefeller Plaza
                   government contract                                                 New York, NY 10112-4498


 2.24.       State what the contract or                   Supply and Offtake
             lease is for and the nature of               Agreement
             the debtor's interest
                                                                                       J. Aron & Company LLC
                  State the term remaining                                             c/o Robin Spigel
                                                                                       Baker Botts, LLC
             List the contract number of any                                           30 Rockefeller Plaza
                   government contract                                                 New York, NY 10112-4498


 2.25.       State what the contract or                   Financing Agreement
             lease is for and the nature of
             the debtor's interest
                                                                                       J. Aron & Company LLC
                  State the term remaining                                             c/o Robin Spigel
                                                                                       Baker Botts, LLC
             List the contract number of any                                           30 Rockefeller Plaza
                   government contract                                                 New York, NY 10112-4498


 2.26.       State what the contract or                   Marketing and Sales
             lease is for and the nature of               Agreement
             the debtor's interest
                                                                                       J. Aron & Company LLC
                  State the term remaining                                             c/o Robin Spigel
                                                                                       Baker Botts, LLC
             List the contract number of any                                           30 Rockefeller Plaza
                   government contract                                                 New York, NY 10112-4498


 2.27.       State what the contract or                   Intermediation            J. Aron & Company LLC
             lease is for and the nature of               Facilitation Agreement    c/o Robin Spigel
             the debtor's interest                                                  Baker Botts, LLC
                                                                                    30 Rockefeller Plaza
Official Form 206G                               Schedule G: Executory Contracts andNew  York, Leases
                                                                                     Unexpired NY 10112-4498                               Page 5 of 9
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 24 of 41
                       Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 23 of 40
 Debtor 1 Limetree Bay Refining Marketing, LLC                                               Case number (if known)   21-32356
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.28.       State what the contract or                   Terminal Services
             lease is for and the nature of               Agreement (included
             the debtor's interest                        locations) (same as
                                                          2.40)                      J. Aron & Company LLC
                  State the term remaining                                           c/o Robin Spigel
                                                                                     Baker Botts, LLC
             List the contract number of any                                         30 Rockefeller Plaza
                   government contract                                               New York, NY 10112-4498


 2.29.       State what the contract or                   Limited Assignment
             lease is for and the nature of               Agreement
             the debtor's interest
                                                                                     J. Aron & Company LLC
                  State the term remaining                                           c/o Robin Spigel
                                                                                     Baker Botts, LLC
             List the contract number of any                                         30 Rockefeller Plaza
                   government contract                                               New York, NY 10112-4498


 2.30.       State what the contract or                   Security Agreement
             lease is for and the nature of
             the debtor's interest
                                                                                     J. Aron & Company LLC
                  State the term remaining                                           c/o Robin Spigel
                                                                                     Baker Botts, LLC
             List the contract number of any                                         30 Rockefeller Plaza
                   government contract                                               New York, NY 10112-4498


 2.31.       State what the contract or                   Master Buy/Sell
             lease is for and the nature of               Confirmation
             the debtor's interest
                                                                                     J. Aron & Company LLC
                  State the term remaining                                           c/o Robin Spigel
                                                                                     Baker Botts, LLC
             List the contract number of any                                         30 Rockefeller Plaza
                   government contract                                               New York, NY 10112-4498


 2.32.       State what the contract or                   Fee Letter
             lease is for and the nature of
             the debtor's interest
                                                                                     J. Aron & Company LLC
                  State the term remaining                                           c/o Robin Spigel
                                                                                     Baker Botts, LLC
             List the contract number of any                                         30 Rockefeller Plaza
                   government contract                                               New York, NY 10112-4498




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 6 of 9
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 25 of 41
                       Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 24 of 40
 Debtor 1 Limetree Bay Refining Marketing, LLC                                                Case number (if known)   21-32356
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.33.       State what the contract or                   Deposit Account
             lease is for and the nature of               Control Agreement
             the debtor's interest
                                                                                      J. Aron & Company LLC
                  State the term remaining                                            c/o Robin Spigel
                                                                                      Baker Botts, LLC
             List the contract number of any                                          30 Rockefeller Plaza
                   government contract                                                New York, NY 10112-4498


 2.34.       State what the contract or                   Funding Letter
             lease is for and the nature of               Agreement
             the debtor's interest
                                                                                      J. Aron & Company LLC
                  State the term remaining                                            c/o Robin Spigel
                                                                                      Baker Botts, LLC
             List the contract number of any                                          30 Rockefeller Plaza
                   government contract                                                New York, NY 10112-4498


 2.35.       State what the contract or                   Bailee's Letter (same
             lease is for and the nature of               as 2.41)
             the debtor's interest
                                                                                      J. Aron & Company LLC
                  State the term remaining                                            c/o Robin Spigel
                                                                                      Baker Botts, LLC
             List the contract number of any                                          30 Rockefeller Plaza
                   government contract                                                New York, NY 10112-4498


 2.36.       State what the contract or                   Combined Property
             lease is for and the nature of               Insurance Policy
             the debtor's interest                        B0509ENGAO2000587

                  State the term remaining                expires 12/1/21             Lancashire Insurance Company UK, Ltd
                                                                                      Marsh USA
             List the contract number of any                                          1166 Avenue of the Americas
                   government contract                                                New York, NY 10036-2774


 2.37.       State what the contract or                   Combined Property
             lease is for and the nature of               Insurance Policy
             the debtor's interest                        LSMAEN143232A
                                                                                      Liberty Specialty Markets Agency td
                  State the term remaining                expires 12/1/21             Liberty Specialty Markets
                                                                                      141 Front Street
             List the contract number of any                                          Hamilton HM19
                   government contract                                                BERMUDA


 2.38.       State what the contract or                   Shared Catalyst
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                expires 3/2/23              Limetree Bay Refining, LLC
                                                                                      1 Estate Hope
             List the contract number of any                                          Christiansted, VI 00820
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 7 of 9
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 26 of 41
                       Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 25 of 40
 Debtor 1 Limetree Bay Refining Marketing, LLC                                                Case number (if known)   21-32356
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract


 2.39.       State what the contract or                   Shared Services
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                      Limetree Bay Terminals, LLC
             List the contract number of any                                          #1 Estate Hope
                   government contract                                                Christiansted, VI 00820-5652


 2.40.       State what the contract or                   Terminal Services
             lease is for and the nature of               Agreement (not
             the debtor's interest                        included locations)
                                                          (same as 2.28)
                  State the term remaining
                                                                                      Limetree Bay Terminals, LLC
             List the contract number of any                                          #1 Estate Hope
                   government contract                                                Christiansted, VI 00820-5652


 2.41.       State what the contract or                   Bailee's Letter (same
             lease is for and the nature of               as 2.35)
             the debtor's interest

                  State the term remaining
                                                                                      Limetree Bay Terminals, LLC
             List the contract number of any                                          #1 Estate Hope
                   government contract                                                Christiansted, VI 00820-5652


 2.42.       State what the contract or                   Terminal Services
             lease is for and the nature of               Agreement (included
             the debtor's interest                        locations) (same as
                                                          2.222)
                  State the term remaining
                                                                                      Limetree Bay Terminals, LLC
             List the contract number of any                                          #1 Estate Hope
                   government contract                                                Christiansted, VI 00820-5652


 2.43.       State what the contract or                   Combined Property
             lease is for and the nature of               Insurance Policy
             the debtor's interest                        B0509ENGAO2000586

                  State the term remaining                expires 12/1/21             NOA/Lloyds of London
                                                                                      Marsh USA
             List the contract number of any                                          1166 Avenue of the Americas
                   government contract                                                New York, NY 10036-2774


 2.44.       State what the contract or                   Deposit Account
             lease is for and the nature of               Control Agreement           Oriental Bank
             the debtor's interest                                                    254 Muñoz Rivera Ave.
                                                                                      San Juan, PR 00918
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 8 of 9
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 27 of 41
                       Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 26 of 40
 Debtor 1 Limetree Bay Refining Marketing, LLC                                               Case number (if known)   21-32356
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.45.       State what the contract or                   Combined Property
             lease is for and the nature of               B0509ENGAO2000589
             the debtor's interest

                  State the term remaining                expires 12/1/21            PartnerRe Ireland Insurance
                                                                                     Marsh USA
             List the contract number of any                                         1166 Avenue of the Americas
                   government contract                                               New York, NY 10036-2774


 2.46.       State what the contract or                   Combined Property
             lease is for and the nature of               Insurance Policy
             the debtor's interest                        ENGAO2000069

                  State the term remaining                expires 12/1/21            QBE/Lloyds of London
                                                                                     Marsh USA
             List the contract number of any                                         1166 Avenue of the Americas
                   government contract                                               New York, NY 10036-2774


 2.47.       State what the contract or                   Combined Property
             lease is for and the nature of               Insurance Policy
             the debtor's interest                        BO509ENGAO2000576

                  State the term remaining                expires 12/1/21            Rokstone/Guardian General Insurance
                                                                                     Marsh USA
             List the contract number of any                                         1166 Avenue of the Americas
                   government contract                                               New York, NY 10036-2774


 2.48.       State what the contract or                   Combined Property
             lease is for and the nature of               Insurance Policy OMP
             the debtor's interest                        2000425-00

                  State the term remaining                expires 12/1/21            Swiss Re/Westport Insurance Company
                                                                                     Westport Insurance Corporation
             List the contract number of any                                         2 Waterside Crossing, Suite 2
                   government contract                                               Windsor, CT 06095


 2.49.       State what the contract or                   Combined Property
             lease is for and the nature of               Insurance Policy
             the debtor's interest                        BO509ENGAO2000576

                  State the term remaining                expires 12/1/21            WRB/Guardian General Insurance
                                                                                     Marsh USA
             List the contract number of any                                         1166 Avenue of the Americas
                   government contract                                               New York, NY 10036-2774




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 9 of 9
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 28 of 41
                       Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 27 of 40

 Fill in this information to identify the case:

 Debtor name         Limetree Bay Refining Marketing, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)         21-32356
                                                                                                                              Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Limetree Bay                      #1 Estate Hope                                   J. Aron & Company               D        2.2
             Refining                          Christiansted, VI 00820                          LLC                              E/F
             Operating, LLC
                                                                                                                                G



    2.2      Limetree Bay                      #1 Estate Hope                                   J. Aron & Company               D        2.3
             Refining                          Christiansted, VI 00820                          LLC                              E/F
             Operating, LLC
                                                                                                                                G



    2.3      Limetree Bay                      #1 Estate Hope                                   Goldman Sachs Bank              D        2.1
             Refining                          Christiansted, VI 00820                          USA                              E/F
             Operating, LLC
                                                                                                                                G



    2.4      Limetree Bay                      #1 Estate Hope                                   Wilmington Trust,               D        2.4
             Refining                          Christiansted, VI 00820                          N.A.                             E/F
             Operating, LLC
                                                                                                                                G



    2.5      Limetree Bay                      1 Estate Hope                                    J. Aron & Company               D        2.2
             Refining, LLC                     Christiansted, VI 00820                          LLC                              E/F
                                                                                                                                G




Official Form 206H                                                       Schedule H: Your Codebtors                                       Page 1 of 13
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 29 of 41
                       Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 28 of 40

 Debtor       Limetree Bay Refining Marketing, LLC                                      Case number (if known)   21-32356


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Limetree Bay                      1 Estate Hope                                 J. Aron & Company              D       2.3
             Refining, LLC                     Christiansted, VI 00820                       LLC                             E/F
                                                                                                                            G



    2.7      Limetree Bay                      1 Estate Hope                                 Goldman Sachs Bank             D       2.1
             Refining, LLC                     Christiansted, VI 00820                       USA                             E/F
                                                                                                                            G



    2.8      Limetree Bay                      1 Estate Hope                                 Wilmington Trust,              D       2.4
             Refining, LLC                     Christiansted, VI 00820                       N.A.                            E/F
                                                                                                                            G



    2.9      Limetree Bay                                                                    Arcadia/Ark/Helix              D
             Cayman II, LLC                                                                                                  E/F
                                                                                                                            G       2.2




    2.10     Limetree Bay                                                                    Chaucer/Apollo                 D
             Cayman II, LLC                                                                                                  E/F
                                                                                                                            G       2.12




    2.11     Limetree Bay                                                                    Arcadia/Ark/Helix              D
             Cayman, LLC                                                                                                     E/F
                                                                                                                            G       2.2




    2.12     Limetree Bay                                                                    Chaucer/Apollo                 D
             Cayman, LLC                                                                                                     E/F
                                                                                                                            G       2.12




    2.13     Limetree Bay                                                                    Arcadia/Ark/Helix              D
             Financing, LLC                                                                                                  E/F
                                                                                                                            G       2.2




Official Form 206H                                                       Schedule H: Your Codebtors                                  Page 2 of 13
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 30 of 41
                       Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 29 of 40

 Debtor       Limetree Bay Refining Marketing, LLC                                      Case number (if known)   21-32356


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.14     Limetree Bay                                                                    Chaucer/Apollo                 D
             Financing, LLC                                                                                                  E/F
                                                                                                                            G       2.12




    2.15     Limetree Bay                      #1 Estate Hope                                Arcadia/Ark/Helix              D
             Refining                          Christiansted, VI 00820                                                       E/F
             Holdings II, LLC
                                                                                                                            G       2.2




    2.16     Limetree Bay                      #1 Estate Hope                                Chaucer/Apollo                 D
             Refining                          Christiansted, VI 00820                                                       E/F
             Holdings II, LLC
                                                                                                                            G       2.12




    2.17     Limetree Bay                      #1 Estate Hope                                Chaucer/Apollo                 D
             Refining                          Christiansted, VI 00820                                                       E/F
             Holdings, LLC
                                                                                                                            G       2.12




    2.18     Limetree Bay                      #1 Estate Hope                                Arcadia/Ark/Helix              D
             Refining                          Christiansted, VI 00820                                                       E/F
             Holdings,, LLC
                                                                                                                            G       2.2




    2.19     Limetree Bay                      1 Estate Hope                                 J. Aron & Company              D
             Refining                          Christiansted, VI 00820                       LLC                             E/F
             Operating, LLC
                                                                                                                            G       2.22




    2.20     Limetree Bay                      #1 Estate Hope                                Arcadia/Ark/Helix              D
             Refining                          Christiansted, VI 00820                                                       E/F
             Operating, LLC
                                                                                                                            G       2.2




    2.21     Limetree Bay                      #1 Estate Hope                                J. Aron & Company              D
             Refining                          Christiansted, VI 00820                       LLC                             E/F
             Operating, LLC
                                                                                                                            G       2.34




Official Form 206H                                                       Schedule H: Your Codebtors                                  Page 3 of 13
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 31 of 41
                       Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 30 of 40

 Debtor       Limetree Bay Refining Marketing, LLC                                      Case number (if known)   21-32356


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.22     Limetree Bay                      #1 Estate Hope                                Chaucer/Apollo                 D
             Refining                          Christiansted, VI 00820                                                       E/F
             Operating, LLC
                                                                                                                            G       2.12




    2.23     Limetree Bay                      11100 Brittmoore Park Drive                   BP Products North              D
             Refining, LLC                     Houston, TX 77041                             America Inc.                    E/F
                                                                                                                            G       2.7




    2.24     Limetree Bay                      #1 Estate Hope                                J. Aron & Company              D
             Refining, LLC                     Christiansted, VI 00820-5652                  LLC                             E/F
                                                                                                                            G       2.22




    2.25     Limetree Bay                      1 Estate Hope                                 Arcadia/Ark/Helix              D
             Refining, LLC                     Christiansted, VI 00820                                                       E/F
                                                                                                                            G       2.2




    2.26     Limetree Bay                      1 Estate Hope                                 WRB/Guardian                   D
             Refining, LLC                     Christiansted, VI 00820                       General Insurance               E/F
                                                                                                                            G       2.49




    2.27     Limetree Bay                      1 Estate Hope                                 Swiss Re/Westport              D
             Refining, LLC                     Christiansted, VI 00820                       Insurance Company               E/F
                                                                                                                            G       2.48




    2.28     Limetree Bay                      1 Estate Hope                                 Rokstone/Guardian              D
             Refining, LLC                     Christiansted, VI 00820                       General Insurance               E/F
                                                                                                                            G       2.47




    2.29     Limetree Bay                      1 Estate Hope                                 QBE/Lloyds of                  D
             Refining, LLC                     Christiansted, VI 00820                       London                          E/F
                                                                                                                            G       2.46




Official Form 206H                                                       Schedule H: Your Codebtors                                  Page 4 of 13
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 32 of 41
                       Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 31 of 40

 Debtor       Limetree Bay Refining Marketing, LLC                                      Case number (if known)   21-32356


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.30     Limetree Bay                      1 Estate Hope                                 PartnerRe Ireland              D
             Refining, LLC                     Christiansted, VI 00820                       Insurance                       E/F
                                                                                                                            G       2.45




    2.31     Limetree Bay                      1 Estate Hope                                 NOA/Lloyds of                  D
             Refining, LLC                     Christiansted, VI 00820                       London                          E/F
                                                                                                                            G       2.43




    2.32     Limetree Bay                      1 Estate Hope                                 Liberty Specialty              D
             Refining, LLC                     Christiansted, VI 00820                       Markets Agency td               E/F
                                                                                                                            G       2.37




    2.33     Limetree Bay                      1 Estate Hope                                 Lancashire Insurance           D
             Refining, LLC                     Christiansted, VI 00820                       Company UK, Ltd                 E/F
                                                                                                                            G       2.36




    2.34     Limetree Bay                      1 Estate Hope                                 Insurance General              D
             Refining, LLC                     Christiansted, VI 00820                       Insurance Co Ltd.               E/F
                                                                                                                            G       2.21




    2.35     Limetree Bay                      1 Estate Hope                                 Houston Specialty              D
             Refining, LLC                     Christiansted, VI 00820                       Insurance Company               E/F
                                                                                                                            G       2.20




    2.36     Limetree Bay                      1 Estate Hope                                 Helvetia Swiss                 D
             Refining, LLC                     Christiansted, VI 00820                       Insurance Co                    E/F
                                                                                                                            G       2.19




    2.37     Limetree Bay                      1 Estate Hope                                 Hannover Re/HDI                D
             Refining, LLC                     Christiansted, VI 00820                       Global Specialty SE             E/F
                                                                                                                            G       2.18




Official Form 206H                                                       Schedule H: Your Codebtors                                  Page 5 of 13
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 33 of 41
                       Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 32 of 40

 Debtor       Limetree Bay Refining Marketing, LLC                                      Case number (if known)   21-32356


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.38     Limetree Bay                      1 Estate Hope                                 Great Lakes                    D
             Refining, LLC                     Christiansted, VI 00820                                                       E/F
                                                                                                                            G       2.16




    2.39     Limetree Bay                      1 Estate Hope                                 Fidelis Underwriting           D
             Refining, LLC                     Christiansted, VI 00820                       Ltd.                            E/F
                                                                                                                            G       2.15




    2.40     Limetree Bay                      1 Estate Hope                                 Elseco Limited                 D
             Refining, LLC                     Christiansted, VI 00820                                                       E/F
                                                                                                                            G       2.14




    2.41     Limetree Bay                      1 Estate Hope                                 Convex Insurance UK            D
             Refining, LLC                     Christiansted, VI 00820                       Limited                         E/F
                                                                                                                            G       2.13




    2.42     Limetree Bay                      1 Estate Hope                                 Guardian General               D
             Refining, LLC                     Christiansted, VI 00820                       Insurance Limited               E/F
                                                                                                                            G       2.17




    2.43     Limetree Bay                      1 Estate Hope                                 Berkshire Hathaway             D
             Refining, LLC                     Christiansted, VI 00820                                                       E/F
                                                                                                                            G       2.4




    2.44     Limetree Bay                      1 Estate Hope                                 Atrium Underwriters            D
             Refining, LLC                     Christiansted, VI 00820                       Ltd                             E/F
                                                                                                                            G       2.3




    2.45     Limetree Bay                      1 Estate Hope                                 AIG Insurance                  D
             Refining, LLC                     Christiansted, VI 00820                       Company - Puerto                E/F
                                                                                             Rico
                                                                                                                            G       2.1




Official Form 206H                                                       Schedule H: Your Codebtors                                  Page 6 of 13
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 34 of 41
                       Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 33 of 40

 Debtor       Limetree Bay Refining Marketing, LLC                                      Case number (if known)   21-32356


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.46     Limetree Bay                      1 Estate Hope                                 J. Aron & Company              D
             Refining, LLC                     Christiansted, VI 00820                       LLC                             E/F
                                                                                                                            G       2.34




    2.47     Limetree Bay                      1 Estate Hope                                 BP Products North              D
             Refining, LLC                     Christiansted, VI 00820                       America Inc.                    E/F
                                                                                                                            G       2.11




    2.48     Limetree Bay                      1 Estate Hope                                 Limetree Bay                   D
             Refining, LLC                     Christiansted, VI 00820                       Terminals, LLC                  E/F
                                                                                                                            G       2.39




    2.49     Limetree Bay                      1 Estate Hope                                 Chaucer/Apollo                 D
             Refining, LLC                     Christiansted, VI 00820                                                       E/F
                                                                                                                            G       2.12




    2.50     Limetree Bay                      11100 Brittmoore Park Drive                   Arcadia/Ark/Helix              D
             Services, LLC                     Houston, TX 77041                                                             E/F
                                                                                                                            G       2.2




    2.51     Limetree Bay                      11100 Brittmoore Park Drive                   Chaucer/Apollo                 D
             Services, LLC                     Houston, TX 77041                                                             E/F
                                                                                                                            G       2.12




    2.52     Limetree Bay                      #1 Estate Hope                                J. Aron & Company              D
             Terminals, LLC                    Christiansted, VI 00820-5652                  LLC                             E/F
                                                                                                                            G       2.29




    2.53     Limetree Bay                      #1 Estate Hope                                BP Products North              D
             Terminals, LLC                    Christiansted, VI 00820-5652                  America Inc.                    E/F
                                                                                                                            G       2.9




Official Form 206H                                                       Schedule H: Your Codebtors                                  Page 7 of 13
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 35 of 41
                       Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 34 of 40

 Debtor       Limetree Bay Refining Marketing, LLC                                      Case number (if known)   21-32356


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.54     Limetree Bay                      #1 Estate Hope                                Arcadia/Ark/Helix              D
             Terminals, LLC                    Christiansted, VI 00820-5652                                                  E/F
                                                                                                                            G       2.2




    2.55     Limetree Bay                      #1 Estate Hope                                WRB/Guardian                   D
             Terminals, LLC                    Christiansted, VI 00820-5652                  General Insurance               E/F
                                                                                                                            G       2.49




    2.56     Limetree Bay                      #1 Estate Hope                                Swiss Re/Westport              D
             Terminals, LLC                    Christiansted, VI 00820-5652                  Insurance Company               E/F
                                                                                                                            G       2.48




    2.57     Limetree Bay                      #1 Estate Hope                                Rokstone/Guardian              D
             Terminals, LLC                    Christiansted, VI 00820-5652                  General Insurance               E/F
                                                                                                                            G       2.47




    2.58     Limetree Bay                      #1 Estate Hope                                QBE/Lloyds of                  D
             Terminals, LLC                    Christiansted, VI 00820-5652                  London                          E/F
                                                                                                                            G       2.46




    2.59     Limetree Bay                      #1 Estate Hope                                PartnerRe Ireland              D
             Terminals, LLC                    Christiansted, VI 00820-5652                  Insurance                       E/F
                                                                                                                            G       2.45




    2.60     Limetree Bay                      #1 Estate Hope                                NOA/Lloyds of                  D
             Terminals, LLC                    Christiansted, VI 00820-5652                  London                          E/F
                                                                                                                            G       2.43




    2.61     Limetree Bay                      #1 Estate Hope                                Liberty Specialty              D
             Terminals, LLC                    Christiansted, VI 00820-5652                  Markets Agency td               E/F
                                                                                                                            G       2.37




Official Form 206H                                                       Schedule H: Your Codebtors                                  Page 8 of 13
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 36 of 41
                       Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 35 of 40

 Debtor       Limetree Bay Refining Marketing, LLC                                      Case number (if known)   21-32356


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.62     Limetree Bay                      #1 Estate Hope                                Lancashire Insurance           D
             Terminals, LLC                    Christiansted, VI 00820-5652                  Company UK, Ltd                 E/F
                                                                                                                            G       2.36




    2.63     Limetree Bay                      #1 Estate Hope                                Insurance General              D
             Terminals, LLC                    Christiansted, VI 00820-5652                  Insurance Co Ltd.               E/F
                                                                                                                            G       2.21




    2.64     Limetree Bay                      #1 Estate Hope                                Houston Specialty              D
             Terminals, LLC                    Christiansted, VI 00820-5652                  Insurance Company               E/F
                                                                                                                            G       2.20




    2.65     Limetree Bay                      #1 Estate Hope                                Helvetia Swiss                 D
             Terminals, LLC                    Christiansted, VI 00820-5652                  Insurance Co                    E/F
                                                                                                                            G       2.19




    2.66     Limetree Bay                      #1 Estate Hope                                Hannover Re/HDI                D
             Terminals, LLC                    Christiansted, VI 00820-5652                  Global Specialty SE             E/F
                                                                                                                            G       2.18




    2.67     Limetree Bay                      #1 Estate Hope                                Great Lakes                    D
             Terminals, LLC                    Christiansted, VI 00820-5652                                                  E/F
                                                                                                                            G       2.16




    2.68     Limetree Bay                      #1 Estate Hope                                Fidelis Underwriting           D
             Terminals, LLC                    Christiansted, VI 00820-5652                  Ltd.                            E/F
                                                                                                                            G       2.15




    2.69     Limetree Bay                      #1 Estate Hope                                Elseco Limited                 D
             Terminals, LLC                    Christiansted, VI 00820-5652                                                  E/F
                                                                                                                            G       2.14




Official Form 206H                                                       Schedule H: Your Codebtors                                  Page 9 of 13
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 37 of 41
                       Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 36 of 40

 Debtor       Limetree Bay Refining Marketing, LLC                                      Case number (if known)   21-32356


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
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    2.70     Limetree Bay                      #1 Estate Hope                                Convex Insurance UK            D
             Terminals, LLC                    Christiansted, VI 00820-5652                  Limited                         E/F
                                                                                                                            G       2.13




    2.71     Limetree Bay                      #1 Estate Hope                                Guardian General               D
             Terminals, LLC                    Christiansted, VI 00820-5652                  Insurance Limited               E/F
                                                                                                                            G       2.17




    2.72     Limetree Bay                      #1 Estate Hope                                Berkshire Hathaway             D
             Terminals, LLC                    Christiansted, VI 00820-5652                                                  E/F
                                                                                                                            G       2.4




    2.73     Limetree Bay                      #1 Estate Hope                                Atrium Underwriters            D
             Terminals, LLC                    Christiansted, VI 00820-5652                  Ltd                             E/F
                                                                                                                            G       2.3




    2.74     Limetree Bay                      #1 Estate Hope                                AIG Insurance                  D
             Terminals, LLC                    Christiansted, VI 00820-5652                  Company - Puerto                E/F
                                                                                             Rico
                                                                                                                            G       2.1




    2.75     Limetree Bay                      #1 Estate Hope                                Chaucer/Apollo                 D
             Terminals, LLC                    Christiansted, VI 00820-5652                                                  E/F
                                                                                                                            G       2.12




    2.76     Limetree Bay                                                                    Arcadia/Ark/Helix              D
             Ventures, LLC                                                                                                   E/F
                                                                                                                            G       2.2




    2.77     Limetree Bay                                                                    WRB/Guardian                   D
             Ventures, LLC                                                                   General Insurance               E/F
                                                                                                                            G       2.49




Official Form 206H                                                       Schedule H: Your Codebtors                                  Page 10 of 13
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 38 of 41
                       Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 37 of 40

 Debtor       Limetree Bay Refining Marketing, LLC                                  Case number (if known)   21-32356


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
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    2.78     Limetree Bay                                                                Swiss Re/Westport              D
             Ventures, LLC                                                               Insurance Company               E/F
                                                                                                                        G       2.48




    2.79     Limetree Bay                                                                Rokstone/Guardian              D
             Ventures, LLC                                                               General Insurance               E/F
                                                                                                                        G       2.47




    2.80     Limetree Bay                                                                QBE/Lloyds of                  D
             Ventures, LLC                                                               London                          E/F
                                                                                                                        G       2.46




    2.81     Limetree Bay                                                                PartnerRe Ireland              D
             Ventures, LLC                                                               Insurance                       E/F
                                                                                                                        G       2.45




    2.82     Limetree Bay                                                                NOA/Lloyds of                  D
             Ventures, LLC                                                               London                          E/F
                                                                                                                        G       2.43




    2.83     Limetree Bay                                                                Liberty Specialty              D
             Ventures, LLC                                                               Markets Agency td               E/F
                                                                                                                        G       2.37




    2.84     Limetree Bay                                                                Lancashire Insurance           D
             Ventures, LLC                                                               Company UK, Ltd                 E/F
                                                                                                                        G       2.36




    2.85     Limetree Bay                                                                Insurance General              D
             Ventures, LLC                                                               Insurance Co Ltd.               E/F
                                                                                                                        G       2.21




Official Form 206H                                                   Schedule H: Your Codebtors                                  Page 11 of 13
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 39 of 41
                       Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 38 of 40

 Debtor       Limetree Bay Refining Marketing, LLC                                  Case number (if known)   21-32356


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
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    2.86     Limetree Bay                                                                Houston Specialty              D
             Ventures, LLC                                                               Insurance Company               E/F
                                                                                                                        G       2.20




    2.87     Limetree Bay                                                                Helvetia Swiss                 D
             Ventures, LLC                                                               Insurance Co                    E/F
                                                                                                                        G       2.19




    2.88     Limetree Bay                                                                Hannover Re/HDI                D
             Ventures, LLC                                                               Global Specialty SE             E/F
                                                                                                                        G       2.18




    2.89     Limetree Bay                                                                Great Lakes                    D
             Ventures, LLC                                                                                               E/F
                                                                                                                        G       2.16




    2.90     Limetree Bay                                                                Fidelis Underwriting           D
             Ventures, LLC                                                               Ltd.                            E/F
                                                                                                                        G       2.15




    2.91     Limetree Bay                                                                Elseco Limited                 D
             Ventures, LLC                                                                                               E/F
                                                                                                                        G       2.14




    2.92     Limetree Bay                                                                Convex Insurance UK            D
             Ventures, LLC                                                               Limited                         E/F
                                                                                                                        G       2.13




    2.93     Limetree Bay                                                                Guardian General               D
             Ventures, LLC                                                               Insurance Limited               E/F
                                                                                                                        G       2.17




Official Form 206H                                                   Schedule H: Your Codebtors                                  Page 12 of 13
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 40 of 41
                       Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 39 of 40

 Debtor       Limetree Bay Refining Marketing, LLC                                  Case number (if known)   21-32356


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.94     Limetree Bay                                                                Berkshire Hathaway             D
             Ventures, LLC                                                                                               E/F
                                                                                                                        G       2.4




    2.95     Limetree Bay                                                                AIG Insurance                  D
             Ventures, LLC                                                               Company - Puerto                E/F
                                                                                         Rico
                                                                                                                        G       2.1




    2.96     Limetree Bay                                                                Atrium Underwriters            D
             Ventures, LLC                                                               Ltd                             E/F
                                                                                                                        G       2.3




    2.97     Limetree Bay                                                                Chaucer/Apollo                 D
             Ventures, LLC                                                                                               E/F
                                                                                                                        G       2.12




Official Form 206H                                                   Schedule H: Your Codebtors                                  Page 13 of 13
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                     Case 21-32351 Document 846-4 Filed in TXSB on 12/03/21 Page 41 of 41
                       Case 21-32351 Document 550 Filed in TXSB on 09/07/21 Page 40 of 40




 Fill in this information to identify the case:

 Debtor name         Limetree Bay Refining Marketing, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)         21-32356
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
                  (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge based upon the information available to me at
       this time.

        Executed on          September 7, 2021                       X /s/ Mark Shapiro
                                                                       Signature of individual signing on behalf of debtor

                                                                       Mark Shapiro
                                                                       Printed name

                                                                       Chief Restructuring Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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